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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF TENNESSEE
                            EASTERN DIVISION

UNITED STATES OF AMERICA,          *

                 Plaintiff,        *

v.                                 *     CR. NO.: 15-10011-STA

CALVIN BAILEY,                     *

               Defendant.      *
________________________________________________________________

   ORDER CONTINUING SENTENCING HEARING AND NOTICE OF RESETTING
________________________________________________________________

     IT APPEARING TO THIS COURT THAT upon the filed motion of

Defendant, Calvin Bailey, to continue the sentencing hearing in

this matter, there being no opposition filed by the United

States of America, and after considering the entire record in

this case, it appears that this motion is well-taken and is,

therefore, GRANTED.

     IT IS HEREBY ORDERED that the SENTENCING HEARING in this case

be CONTINUED until the 10th day of August, 2018, at 9:00 a.m.

     IT IS SO ORDERED, this the 12th day of June, 2018.


                               s/S. Thomas Anderson
                               S. THOMAS ANDERSON
                               CHIEF UNITED STATES DISTRICT JUDGE
